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                  THE UNITED STATES BANKRUPTCY COURT
                       MIDDLE DISTRICT OF FLORIDA
                         JACKSONVILLE DIVISION
IN RE:
                                                  CASE NO.: 3:13-bk-02218-PMG
TRACIE YVONNE WALKER                              Chapter 13

                         Debtor    /              Estimated Time if a hearing is required:
                                                  10 Minutes




                 TRUSTEE’S NOTICE OF FINAL CURE PAYMENT



   COMES NOW, DOUGLAS W. NEWAY, CHAPTER 13 TRUSTEE, pursuant to

Bankruptcy Rule 3002.1(f) who hereby gives notice that the above referenced Debtor

has completed the Confirmed Chapter 13 Bankruptcy Plan by making all required

payments. Accordingly, the Debtor has paid in full the amount required to cure any

default on Claim 5 of Bsi Financial Services. This creditor shall forever be barred from

seeking to collect any indebtedness stemming from the course of the bankruptcy

proceeding, including, but not limited to: late penalties or fees, post petition attorney

fees and costs of collection not approved by the Court, and miscalculated interest due to

misapplication of payments as those payments were received from the Trustee.

   The holder of the claim is obligated to file and serve a response to this Notice

pursuant to F.R.B.P. Rule 3002.1(g) within 21 days of the service of this Notice.
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   WHEREFORE the Trustee hereby gives notice of the completion of the Confirmed

Chapter 13 plan and notice that the account due and owing to Bsi Financial Services is

deemed current under the terms of the confirmed plan with no further Order being

needed unless a timely objection is filed.




                                                   /s/ Douglas W. Neway
                                                   DOUGLAS W. NEWAY, Trustee
                                                   Florida Bar No. 709948
                                                   Post Office Box 4308
                                                   Jacksonville, Florida 32201-4308
                                                   Phone: (904) 358-6465
                                                   Fax: (904) 634-0038


                             CERTIFICATE OF SERVICE

        I HEREBY certify that a true and correct copy of the foregoing was served by
electronic transmission, facsimilie transmission, and/or U. S. Mail on this 20th day of
July, 2018 to the following:


Gerald B Stewart Esquire, 24 N Market Street Ste 402, Jacksonville, FL 32202
Tracie Yvonne Walker, 2382 Winterwood Cir E, Jacksonville, FL 32210
Bsi Financial Services, P O Box 679002, Dallas, TX 75267
Bank Of America, 8201 Peters Rd Ste 3000, Plantation, Fl 33324



                                                      /s/ Douglas W. Neway
